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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

 WANDA DIXON, INDIVIDUALLY AND                   CIVIL ACTION NO. MDL NO. 2592
 AS PERSONAL REPRESENTATIVE OF
 THE ESTATE OF WILLIAM DIXON
                                                 SECTION: L
Plaintiffs,                                      JUDGE: ELDON E. FALLON MAG.
                                                 JUDGE MICHAEL NORTH
v.

 JANSSEN RESEARCH & DEVELOPMENT
 LLC f/k/a JOHNSON AND JOHNSON
 PHARMACEUTICAL RESEARCH AND                     Member Case No. 2:17-cv-05113
 DEVELOPMENT LLC, JANSSEN ORTHO
 LLC, JANSSEN PHARMACEUTICALS,
 INC. f/k/a JANSSEN PHARMACEUTICA
 INC. f/k/a ORTHO-MCNEIL-JANSSEN
 PHARMACEUTICALS, INC., JOHNSON &
 JOHNSON COMPANY, BAYER
 HEALTHCARE PHARMACEUTICALS,
 INC., BAYER PHARMA AG, BAYER
 CORPORATION, BAYER HEALTHCARE
 LLC, BAYER HEALTHCARE AG, and
 BAYER AG,

 Defendants.



                                  NOTICE OF SUBMISSION

          Please take notice that Plaintiffs Wanda Dixon, Individually and as Personal

 Representative of the Estate of William Dixon, by and through the undersigned counsel, will

 present their Motion for Extension of Time to Effectuate Service of Summons and Complaint on

 Bayer Healthcare Pharmaceutical for submission to the Honarable Eldon E. Fallon for a ruling on

 April 23, 2018.




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                                  RESPECTFULLY SUBMITTED:

                                  April 23, 2018




                          BY: /s/ Sarah A. Wolter
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